    Case 1:08-cr-00186-RJA   Document 450   Filed 10/01/10   Page 1 of 1



IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

          v.                                        08-CR-186-A

TERRY L. IZZARD,

                Defendant.




                                 ORDER



     After hearing oral argument on defendant’s motion for bail

modification, it is hereby



     ORDERED, that defendant’s motion be GRANTED in part and only

to the extent that the defendant is ordered released from federal

custody effective Monday, October 4, 2010, at 11:00 a.m., and

thereafter, the defendant must return to federal custody before

5:00 p.m. on that same date, Monday, October 4, 2010.



     SO ORDERED.

                                 s/ Richard J. Arcara
                                 HONORABLE RICHARD J. ARCARA
                                 UNITED STATES DISTRICT JUDGE

DATED: October 1, 2010
